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                            EXHIBIT 5
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                                                                         March 13, 2019

  BY HAND and ECF

  The Honorable Nicholas G. Garaufis
  United States District Judge
  United States District Court
  225 Cadman Plaza East
  Brooklyn, New York 11201

          Re:      United States v. Keith Raniere, et al., 18 Cr. 204 (NGG)

  Dear Judge Garaufis:

           Defendant Keith Raniere respectfully writes in response to the government’s letter
  requesting that the Court set April 15, 2019 as the deadline by which both the government and the
  defendants will submit their proposed jury charges, exchange witness lists, and exchange trial
  exhibits, final transcripts and translations.1 (Dkt. 386.) We agree on April 15, 2019 as the date to
  exchange proposed jury charges, final transcripts and translations, but propose a date prior to the
  start of jury selection for witness lists and case-in-chief trial exhibits. Specifically, we ask for April
  1, 2019 as the deadline for all parties to meet-and-confer regarding exhibits so that the parties do
  not duplicate efforts, and April 7, 2019 as the deadline to exchange trial exhibits.2 These dates are
  appropriate for a case of this magnitude and is consistent with other scheduling orders in this
  district.

          First, April 7, 2019 is the appropriate date to exchange exhibits and witness lists because
  this Court will call potential jurors to fill out questionnaires on April 8 and April 9, 2019. (See
  Dkt. 287; February 15, 2019 Minute Order.) On that date, the venire will be introduced to the
  parties, so that the venire can “make note of it [if they recognize anyone] on their questionnaire.”

  1
    The government proposed April 8, 2019 as a date to “begin providing” 18 U.S.C. § 3500 material, but this request
  is now rendered moot by this Court’s February 28, 2019 Order.
  2
    We expect, as in all trials, that the defense exhibit list may need to be supplemented based on the government’s
  proposed exhibits and its presentation of the evidence.
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  (See 2/28/19 Tr. at 14.) It logically follows that the Court will likely read the names of witnesses
  as well, so that the potential jurors can make note of whether they are familiar with any of the
  potential witnesses on their questionnaire. However, without the parties’ witness list, it will make
  selection in this manner impossible.

          Second, the Court ordered that by April 11th, the parties must submit a list of “strikes by
  consent” for the first 150 potential jurors and that the Court “will need proposed follow-up
  questions from both sides.” (2/28/19 Tr. at 15.) Again, without the parties’ exhibit lists, this
  exercise will be futile for the parties. The parties may need to propose questions to the potential
  jurors to ask if admission of certain exhibits would make them unable to be fair. However, we will
  not be able to propose follow up questions without knowledge of what the government’s intended
  exhibits are.

          Third, exchange of exhibits three to four weeks before trial will allow the parties to move
  in limine if necessary with sufficient time for the Court to rule on such motions.

           Finally, witness lists and exhibit lists four weeks before trial are consistent with recent
  trials that counsel has tried in this district. In United States v. Shkreli, where the parties picked a
  jury in the ceremonial courtroom from a venire of several hundred potential jurors, the parties
  exchanged exhibit lists, witness lists, voir dire requests, and requests to charge two months before
  trial. (United States v. Shkreli, 15 Cr. 637 (KAM) at Dkt. 147.) Similarly, in United States v.
  Venditto, the parties exchanged witness lists in advance of the venire filling out jury
  questionnaires.

          Therefore, it would be practical, for the parties to meet-and-confer regarding witness and
  exhibit lists on April 1, 2019 and exchange witness lists and exhibit lists on April 7, 2019.

                                                                 Respectfully submitted,

                                                                  /s/
                                                                 Marc A. Agnifilo
                                                                 Teny R. Geragos


  cc:    All Counsel (via ECF)




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